                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION

UNITED STATES OF AMERICA            )
                                    )
                                    )
            v.                      )            CRIMINAL NO. 5:06CR35-12
                                    )
                                    )
ROSS LANCE PRICE                    )
____________________________________)

                                           ORDER

       THIS MATTER IS BEFORE THE COURT on the Motion to Modify Terms of Pretrial

Release (document #210) filed by the defendant, Ross Lance Price, on March 14, 2007. In his

motion, the defendant seeks a modification of his terms of pretrial release striking the curfew

condition and allowing the defendant to reside with his wife, Patricia Dawn Abshire. The

government does not oppose the requested bond modification.

       IT IS THEREFORE ORDERED that the defendant’s Motion to Modify Terms of Pretrial

Release is hereby granted.

       IT IS FURTHER ORDERED that the defendant’s terms of pretrial release are modified

to strike the curfew condition and to allow the defendant to reside with his wife, Patricia Dawn

Abshire.



                                               Signed: March 15, 2007




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